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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION



UNITED STATES OF AMERICA                 )




                                         )




V.                                       )
                                               Case No. CR414-005
                                         )




CARL EVAN SWAIN                          )




a/k/a "COWBOY"                           )




                                ORDER


      Carl Evan Swain is charged in this case with murder, an offense

punishable "by death or imprisonment for life." 18 U.S.C. § 1111(b). See

Indictment (doe. 1) at 1; see also id. 2-3 (listing various statutory factors

under 18 U.S.C. H 3591 and 3592 that would render the offense death

penalty-eligible under the Federal Death Penalty Act).

      Upon Mr. Swain's removal to this District from the United States

District Court for the Northern District of Alabama, the Court assigned two

local attorneys, one with considerable death penalty experience, to

represent him on a provisional basis pending the Court's further

communication with the Administrative Office of the United States Courts,
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as required by 18 U.S.C. § 3005. The court has since consulted with the

Office of Defender Services within the Administrative Office. After

considering its recommendations, the court has decided to call upon Mr.

Edward D. Tolley to serve as Swain's lead counsel in this case and, at Mr.

Tolley's request, to assign Mr. William J. Hunter as co-counsel for Swain.

The court hereby excuses Mr. Richard Darden and Mr. Joshua Lowther

from the further representation of Swain in this case.'

      An indigent defendant charged with a capital crime is entitled to the

appointment of two attorneys, at least one of whom "shall be learned in the

law applicable to capital cases," 18 U.S.C. § 3005, and shall have been

admitted to practice before the court for not less than five years and have

at least three years experience in the actual trial of felony prosecutions

before that court. 18 U.S.C. § 3599(b). The court has chosen as

defendant's lead counsel an attorney who has represented numerous



       'The Court has every confidence that Mr. Darden and Mr. Lowther, who are both
highly capable and skilled attorneys, would have provided excellent representation for
Mr. Swain in this case. Mr. Darden is an experienced death penalty practitioner who
has previously represented a defendant in this Court charged with a capital crime. Mr.
Lowther has also distinguished himself in this Court as a highly skilled criminal defense
attorney who is a zealous and effective advocate for his clients. The Court would not
hesitate to call upon either of these attorneys in a future capital case.


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     defendants charged with state capital crimes and who has considerable

     experience before this Court in handling the defense of complex and

     protracted felony prosecutions. He is not only "learned in the law

     applicable to capital cases" but has distinguished himself both at the

     national and state levels as an attorney of exceptional ability, experience,

     and professionalism. Mr. Tolley's co-counsel, Mr. William Hunter, is an

     exceedingly capable young attorney who has impressed not only Mr. Tolley

     but also this Court with his legal skill, dedication to his clients, and

     professionalism.

           After reviewing the policies and recommendation of the

     Administrative Office of the United States Courts, this Court is persuaded

     that defendant's lead counsel, Mr. Edward Tolley, should be compensated

     at the rate of $163.00 per hour for his services in this case. Mr. Tolley's co-

     counsel, Mr. William J. Hunter, will be compensated at the rate of $125.00

     per hour for his services in this case. 2 These hourly rates shall apply to

     both in-court and out-of-court time.

           The Court will allow counsel to submit interim vouchers during the

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            Mr. Richard Darden will be compensated at the rate of $163 per hour, and Mr.
     Joshua Lowther at the rate of $125 per hour, for their services in this case.

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progress of this case. See Guide to Judiciary Policies and Procedures, Vol.

7A 2 Ch. 6 at § 630.40. ("It is urged that the court permit interim payment

of compensation in capital cases.").' After consulting the Guide, the Court

imposes the following procedures for interim payments in this case:

      1. Submission of Vouchers

      Counsel shall submit to the court clerk, once each month, an interim

Form CJA 30, Death Penalty Proceedings: Appointment of an Authority

to Pay Court Appointed Counsel. Compensation earned and reimbursable

expenses incurred for each month should be claimed on an interim voucher

submitted no later than the tenth day of the following month, or the first

business day thereafter. Each voucher will be numbered when processed

for payment. Counsel should complete Item 18 on the form for each interim

voucher. Interim vouchers should be submitted in accordance with this

schedule even though little or no compensation or expenses are claimed for

the respective period. All interim vouchers must be supported by detailed

and itemized time and expense statements. The Guide, Volume 7A,



        Volume 7 of the Guide is available online at http://www.uscourts.gov/Federal
Courts/AppointmentOfCounsel/CJAGuidelinesForms/GuideToJudiciaryPolicyVolume
7.aspx.

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Chapter 6 (and Chapter 2, § 230), outlines the procedures and rules for

claims by CJA attorneys and should be followed on each voucher.

      The Court will review the interim vouchers when submitted,

particularly with regard to the amount of time claimed, and will authorize

compensation be paid for the approved number of hours. The Court will

also authorize for payment all reimbursable expenses reasonably incurred.

At the conclusion of the representation, each counsel should submit a final

voucher seeking payment for representation provided during the final

interim period. The final voucher should also set forth in detail the time

and expenses claimed for the entire case, including all documentation.

Counsel should reflect all compensation and reimbursement previously

received on the appropriate line of the final voucher.

     2. Reimbursable Expenses

      Counsel may be reimbursed for out-of-pocket expenses reasonably

incurred incident to the representation. While the statute and applicable

rules and regulations do not place a monetary limit on the amount of

expenses that can be incurred, counsel should incur no single expense item

in excess of $600.00 without prior approval of the court. Such approval may


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     be sought by filing an exparte application with the clerk stating the nature

     of the expense, the estimated dollar cost, and the reason the expense is

     necessary to the representation. An application seeking such approval may

     be filed in camera, if necessary. Upon finding that the expense is

     reasonable, I will authorize counsel to incur it. Recurring expenses, such

     as telephone toll calls, photocopying, and photographs, which aggregate

     more than $600.00 on one or more interim vouchers are not considered

     single expenses requiring court approval.

          With respect to travel outside of the county of counsel's principal law

     office for the purpose of consulting with the client or his counsel,

     interviewing witnesses, etc., the $600.00 rule should be applied in the

     following manner. Travel expenses, such as air fare, mileage, parking fees,

     meals, and lodging, can be claimed as itemized expenses. Therefore, if the

     reimbursement for expenses relating to a single trip will aggregate an

     amount in excess of $600.00, the travel should receive prior approval of the

     Court.

          The following additional guidelines may be helpful to counsel:

          (a) Case related travel by privately owned automobile should be


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claimed at the rate of $0.56 per mile, plus parking fees, ferry fares, and

bridge road, and tunnel tolls. Transportation other than by privately

owned automobile should claimed on an actual expense basis. Air travel in

"first class" is prohibited. Counsel and persons providing services under

CJA are encouraged to contact the clerk for air travel authorization at

government rates.

      (b) Actual expenses incurred for meals and lodging while traveling

outside of the county of counsel's principal law office in the course of this

representation must conform to the prevailing limitations placed upon

travel and subsistence expenses for federal judiciary employees in

accordance with existing government travel regulations. For specific details

concerning high cost areas, counsel should consult the clerk.

      (c) Telephone toll calls, telegrams, photocopying, and photographs

can all be reimbursable expenses if reasonably incurred. However, general

office overhead, such as rent, secretarial help, and telephone service, is not

a reimbursable expense, nor are items of a personal nature. In addition,

expenses for service of subpoenas on fact witnesses are not reimbursable,

but rather are governed by Fed. R. Crim. P. 17 and 28 U.S.C. § 1825.


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      3. Further Guidance

      Answers to questions concerning appointment under the CJA can

generally be found in (1) 18 U.S.C. § 3006A; (2) the Plan of the United

States District Court for the Southern District of Georgia, available through

the clerk; and (3) the Guide, Vol. 7A (Guidelines for Administering the CJA

and Related Statutes), published by the Administrative Office of the U.S.

Courts, also available through the clerk or online. Should these references

fail to provide the desired clarification or direction, counsel should address

their inquiries directly to me or my staff.

      SO ORDERED this 3rd day of February, 2014.



                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
